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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                                  Civ. Case No. 4:16-cv-00284-E-BLW
                                                  Crim. Case No. 4:09-cr-00154-E-BLW
         Plaintiff,

         v.                                       MEMORANDUM DECISION AND
                                                  ORDER
  ANAYELL NIETO-ROJAS,

         Defendant.



                                          ORDER

       This case has been remanded to the Court from the United States Court of Appeals

for the Ninth Circuit “for the limited purpose of permitting the district court to provide

appellant notice and an opportunity to request that the time for filing the notice of appeal

be extended, for a period not to exceed 30 days from the expiration of the time prescribed

by Rule 4(b), upon a finding of excusable neglect or good cause. See Fed. R. App. P.

4(b)(4); United States v. Stolarz, 547 F.2d 108 (9th Cir. 1976).”

       Ms. Nieto-Rojas subsequently filed a Response aimed at establishing good cause

or excusable neglect. Dkt. 203. After reviewing Ms. Nieto-Rojas’s materials, and in

light of the fact that Ms. Nieto-Rojas was just one day late in filing her appeal her notice

of appeal, the Court concludes that good cause exists to excuse Ms. Nieto-Rojas’s delay.




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     IT IS ORDERED:

        1. Pursuant to the Ninth Circuit’s remand instructions, the Court finds that

           good cause exists to excuse Ms. Nieto-Rojas’s delay.

        2. The Clerk of the Court will forward this order to the Office of the Clerk for

           the United States Court of Appeals for the Ninth Circuit.



                                              DATED: April 12, 2019


                                              _________________________
                                              B. Lynn Winmill
                                              United States District Judge




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